Case 4:15-cv-00661-ALM-CAN Document 113 Filed 11/21/18 Page 1 of 1 PageID #: 1028




                            United States District Court
                                   EASTERN DISTRICT OF TEXAS
                                       SHERMAN DIVISION

    WAYNE A. POWE, ET AL.                         §
                                                  §    Civil Action No. 4:15-CV-661
    v.                                            §    (Judge Mazzant/Judge Nowak)
                                                  §
    DEUTSCHE BANK NATIONAL TRUST                  §
    CO., AS TRUSTEE FOR RESIDENTIAL               §
    ASSET SECURITIZATION TRUST                    §
    SERIES 2004-A7 MORTGAGE PASS-                 §
    THROUGH CERTIFICATES 2004-G                   §

                        ORDER DIRECTING EXPEDITED RESPONSE

          On November 16, 2018, Plaintiffs filed “Plaintiffs’ Emergentcy [sic] Motion to Suspend

.   the Enforcement of the Final Juddgment [sic] under Rule 62(d) and to Set the Amount of the

    Supersedeas Bond” [Dkt. 111]. Defendant shall file a response to the Motion no later than

    12:00 p.m. (noon) on Tuesday, November 27, 2018.

          IT IS SO ORDERED.

          SIGNED this 21st day of November, 2018.




                                      ___________________________________
                                      AMOS L. MAZZANT
                                      UNITED STATES DISTRICT JUDGE
